         Case 1:20-cr-00378-LJL Document 43 Filed 11/06/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------X
                                    :
UNITED STATES OF AMERICA
                                    :         20 CR 378 - 3

     -against-                           :    ORDER
                                         :
Adedayo Ilori
                                         :
          Defendant
                                    :
------------------------------------X


     Lewis J. Liman, United States District Judge:

     ORDERED that the defendant’s location monitoring bracelet may be
temporarily removed, under the direction of Pretrial Services, for an
MRI appointment on November 12th, 2020 and put back in place after the
appointment.



     Dated: New York, New York
                       6
            November ____, 2020


                                        SO ORDERED




                                        _______________________________
                                        Lewis J. Liman
                                        United States District Judge
